              IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                   No. 12-cv-1349
                       Plaintiff;
         v.                                        MOTION TO MODIFY EXPERT
                                                   DISCLOSURE DEADLINE AS TO A
 Terry Johnson, in his official capacity as        SINGLE EXPERT
 Alamance County Sheriff,
                       Defendant.


       The United States respectfully asks this Court to modify the expert disclosure

deadline set forth in this Court’s November 14, 2013, Order, ECF No. 67, as to one of its

three experts. Good cause exists for such a modification, as dual medical emergencies in

the expert’s family prevented the expert from completing her report. The expert, Margo

Frasier, has spent much of the past two weeks caring for her mother and her partner, both

of whom are hospitalized and facing major surgeries. On Thursday morning, November

14, the United States informed Defendant of these medical emergencies and asked if

Defendant would agree to extend the deadline for Ms. Frasier’s expert report as well as

Defendant’s deadline for rebutting the report. After taking a day to discuss the proposal

with his client, Defendant’s attorney refused to agree to any extension.

       Accordingly, the United States now asks this Court to briefly extend the expert

disclosure deadline for Ms. Frasier’s report. The United States proposes the following

new deadlines to apply only to Ms. Frasier’s report:

          • Submission of Ms. Frasier’s expert report: November 25, 2013; and




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          • Defendant’s submission of a rebuttal report: January 6, 2014.

       Pursuant to the current expert disclosure deadlines, the United States has already

provided expert reports from its other two expert witnesses and has disclosed all Rule

26(a)(2)(B) materials related to Ms. Frasier except for her expert report. The only

material not provided is Ms. Frasier’s report itself. There is good cause for extending the

deadline for this report, and the requested extension would not impact any other case

management deadlines.

                                           ANALYSIS

       Federal Rule of Civil Procedure 16(b)(4) provides that a district court may modify

a discovery schedule “for good cause and with the judge's consent.” The Rule 16 inquiry

centers on the diligence of the party or parties requesting a modification. Advisory

Comm. Note to Rule 16(b), 1983 (court may “modify the schedule on a showing of good

cause if the deadline cannot be met despite the diligence of the party seeking the

extension.”); see also Montgomery v. Anne Arundel County, 182 F. App’x. 156, 162 (4th

Cir. 2006) (under Rule 16(b)’s good cause standard, “the primary consideration is the

diligence of the moving party”); Odyssey Travel Ctr., Inc. v. RO Cruises, Inc., 262 F.

Supp. 2d 618, 632 (D. Md. 2003) (“The primary consideration of the Rule 16(b) ‘good

cause’ standard is the diligence of the movant.”).

       The United States easily satisfies this standard here, where Ms. Frasier’s diligent

efforts to complete her report were thwarted by unforeseeable medical exigencies. The

United States retained Ms. Frasier to review the policies, procedures, training, and

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accountability mechanisms of the Alamance County Sheriff’s Office (“ACSO”) to assess

whether ACSO has employed adequate procedures to prevent discrimination against

Latinos. Ms. Frasier is highly qualified to make this judgment. She served as Sheriff of

Travis County (Austin), Texas from 1997 – 2004 and presently works as the Police

Monitor for the City of Austin. Ms. Frasier previously served as president of the Major

County Sheriff’s Association and has 35 years of law enforcement experience. To

prepare for her analysis of ACSO, Ms. Frasier reviewed several thousand pages of

deposition transcripts, ACSO policies, and procedures. Ms. Frasier also toured Alamance

County, met with various individuals with knowledge of ACSO operations, and began to

draft an expert report.

       Despite these efforts, two family medical emergencies prevented Ms. Frasier from

completing her expert report. First, on October 30, 2013, Ms. Frasier’s 85-year-old

mother was hospitalized after falling and breaking her femur. On November 11, 2013,

Ms. Frasier’s mother underwent difficult surgery, after which doctors struggled to

stabilize her. Ms. Frasier’s mother remains hospitalized, and Ms. Frasier has devoted

significant time and energy to supporting her. Second, on November 13, 2013, Ms.

Frasier’s partner was admitted to the emergency room due to pain and fever. The

medical personnel attending to Ms. Frasier’s partner are attempting to stabilize her in

hopes of performing surgery on November 19, 2013.

       As a result of these two medical situations, Ms. Frasier has been under

extreme stress and has devoted most of her time to taking care of her mother and

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partner. Despite her best efforts, Ms. Frasier has not been able to complete her

expert report during this period.

       Accordingly, the United States asks the Court to extend the deadline for Ms.

Frasier’s expert report and any rebuttal report filed by Defendant in response to Ms.

Frasier’s conclusions. The requested extension would not impact other case management

deadlines.



       Respectfully submitted,


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                            CERTIFICATE OF SERVICE


        I certify that the foregoing Motion to Modify Expert Disclosure Deadlines as to a
Single Expert was served through the electronic filing service on November 15, 2013 to
the following individual:

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                                                s/ Michael J. Songer
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